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                                             UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF FLORIDA
                                                     (Miami Division)

                                                    CASE NO.: 1:18-cv-25429-MGC


    MAITE MARTINEZ,

                Plaintiff,

    v.


    CHERRY BEKAERT, LLP, a foreign for
    profit corporation,

                Defendant.

    __________________________________/

                               DEFENDANT’S MOTION TO DISMISS
                       PLAINTIFF’S AMENDED COMPLAINT WITH PREJUDICE

              COMES NOW Defendant, CHERRY BEKAERT, LLP (hereinafter “CB”), by and

   through the undersigned counsel, pursuant to Fed. R. Civ. P. 12(b)(6), and hereby moves this

   Court for the entry of an Order granting this Motion to Dismiss the Plaintiff’s Amended

   Complaint (DE 11) with prejudice, and in support thereof states as follows:

         I.         Procedural History.

              On December 26, 2018, the Plaintiff filed this lawsuit against CB alleging the exact

   same causes of action that are included in the Amended Complaint that is the subject of this

   Motion. See DE 1. In response, CB filed a Motion to Dismiss the Complaint under Fed. R.

   Civ. P. 12(b)(1) and (6). DE 10. Thereafter, on February 11, 2019, the Plaintiff filed an

   Amended Complaint that included one material difference from the initial Complaint. DE

   11. Particularly, the Amended Complaint included the below new allegations that were



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   directed towards the statute of limitations argument set forth in the in the initial Motion to

   Dismiss:




              Id. at ¶¶ 42-43.

              While the Amended Complaint includes the above allegations that may preclude a

   statute of limitations argument at this stage of the pleadings, the Amended Complaint fails to

   rectify the other well-founded arguments for dismissal set forth in this Motion. Specifically,

   the Amended Complaint remains founded on an unsupportable theory of law. The Plaintiff

   cannot plead her way out of the fact she is attempting to sue her former employer, CB, based

   on alleged harassment and bullying by an adversary accountant expert employed by an

   entirely separate company whose objective was to contest and debate the Plaintiff’s position

   on everything in a contentious divorce case.

        II.         Allegations in the Amended Complaint.

              The Plaintiff is a Certified Public Accountant who previously worked for CB, an

   accounting firm that has an office in Coral Gables, Florida. DE 11, at pg. 1. The Plaintiff

   acknowledges CB gave her annual monetary raises and eventually promoted her to the

   position of litigation support manager primarily for CB’s family law accounting support

   practice. Id. at pgs. 1-2. The Plaintiff resigned from CB on December 28, 2017. Id. at ¶ 44.

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              Almost exactly one year after her resignation, on December 26, 2018, the Plaintiff filed

   the present lawsuit against her former employer arguing causes of action for Sex

   Discrimination under the Florida Civil Rights Act (FCRA), Hostile Work Environment under

   Title VII of the Civil Rights Act (Title VII) and the FCRA, and Retaliation under Title VII

   and the FCRA.

              In every lawsuit arguing employment discrimination the Complaint portrays a villain

   who was the alleged discriminator within the workforce. What makes this case unique is the

   fact that the villain was a non-party accountant and the Plaintiff’s adversary expert in a

   divorce case. He was never employed by CB or under its control in any way. Id. at pg. 2. In

   this respect, the Plaintiff’s theory of liability is summarized as follows: “(w)hile performing

   her duties, Martinez was harassed and threatened by several individuals who were not Cherry

   Bekaert employees, but were employed as experts hired by opposing counsel.” Id. 1 “While

   working on a family law related case, as the litigation support manager assigned to the case,

   Martinez was harassed and threatened by the opposing accounting firm’s representatives.” Id.

   at ¶ 23. The Plaintiff claims that the opposing experts - who did not work for CB - bullied her

   and used profane language in emails directed towards the Plaintiff and Mr. Philip Schecter,

   another partner who worked for CB at the time. Id. at ¶¶ 23-24, 29. The Plaintiff complains

   that “Schecter did very little or nothing to intervene” and confront the non-CB aggressor in

   connection with the bullying. Id. at ¶¶ 28, 34.

              The Plaintiff also alleges that after receiving a dissatisfactory response from Schecter,

   on September 12, 2016, she notified her litigation department managing partner, Mr. Scott

   Moss, about the inappropriate behavior on the part of non-CB employees. Id. at ¶ 37. In


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    The Plaintiff and CB were retained as accounting experts for one spouse in the Divorce Case, while the alleged
   non-CB accountant aggressor was retained as the adversary accounting expert for the other spouse.
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   response, the Plaintiff claims CB’s litigation department manager told her “to ignore [the

   Representative].” Id. at ¶ 39.

               The Plaintiff alleges that the harassment and the threats from the non-CB adversary

   accountants caused her to suffer from two seizures. Id. at pg. 2. The Plaintiff believes that

   “(a)fter the seizures, Martinez noticed that the number of cases she was assigned decreased

   and she was frequently told that her presence in court, at mediations and depositions was now

   ‘not required.’” Id. The Plaintiff resigned from CB on December 28, 2017, because she felt

   the harassment at work by the non-CB adversary accountants had negatively affected her job.

   Id. at pgs. 2-3, ¶ 44.

               The Court should dismiss this case against CB with prejudice because: (1) CB cannot

   be held liable for alleged improper conduct of non-CB employees over whom CB had no

   control as a matter of law, and (2) the Plaintiff fails to allege that she ever complained to CB

   that the non-CB employees were treating her differently because of her gender.

        III.        Motion to Dismiss Standard.

               A Rule 12(b)(6) motion to dismiss attacks the legal sufficiency of the Complaint.

   Generally, the Federal Rules of Civil Procedure require only that the complaint provide "'a

   short and plain statement of the claim' that will give the defendant fair notice of what the

   plaintiff's claim is and the grounds upon which it rests." Conley v. Gibson, 355 U.S. 41, 47,

   (1957) (quoting Fed. R. Civ. P. 8(a)). To survive a 12(b)(6) motion to dismiss, the complaint

   "does not need detailed factual allegations," Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555,

   127 S. Ct. 1955, 1964, 167 L. Ed. 2d 929 (2007), but must "give the defendant fair notice of

   what the plaintiff's claim is and the grounds upon which it rests," Conley v. Gibson, 355 U.S.

   41, 47 (1957). See also Randall v. Scott, 610 F.3d 701 (11th Cir. 2010).


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        IV.         Memorandum of Law.

        A. The Plaintiff cannot sue CB for alleged improper conduct on the part of non-CB
           employees.

              The Complaint should be dismissed with prejudice because neither Title VII nor the

   FCRA may be used to hold CB responsible for alleged improper conduct on the part of non-

   CB employees.

              Title VII provides that it is an unlawful employment practice for an employer "to fail

   or refuse to hire or to discharge any individual, or otherwise to discriminate against any

   individual with respect to his compensation, terms, conditions, or privileges of employment,

   because of such individual's race, color, religion, sex, or national origin." 42 U.S.C. § 2000e-

   2(a)(1). The liability of an employer may only be established in one of two ways. First, "an

   employer may be held indirectly, or vicariously liable for hostile environment . . . harassment:

   (1) when a harasser is acting within the scope of his employment in perpetrating the

   harassment, and (2) when a harasser is acting outside the scope of his employment but is aided

   in accomplishing the harassment by the existence of the agency relationship." Joseph v. Publix

   Super Mkts., 983 F. Supp. 1431 (S.D. Fla. 1997). Second, an employer may be "directly liable

   for hostile environment . . . harassment if it knew, or upon reasonably diligent inquiry should

   have known, of the harassment and failed to take immediate and appropriate corrective

   action. Id.; See generally Reynolds v. CSX Transp. Inc., 115 F.3d 860, No. 95-3364 (11th. Cir.

   1997); Steele v. Offshore Shipbuilding Inc., 867 F.2d 1311 (11th. Cir. 1989); Huddleston v. Roger

   Dean Chevrolet, Inc., 845 F.2d 900 (11th. Cir. 1988). To be indirectly liable, the harassment

   must be accomplished by an instrumentality of the agency or through conduct associated with

   the agency status. Joseph, 983 F. Supp. 1431.



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              To establish a hostile work environment harassment claim under Title VII, the plaintiff

   must show: (1) that she belongs to a protected group; (2) that the employee has been subject

   to unwelcome harassment; (3) that the harassment must have been based on the sex of the

   employee; (4) that the harassment was sufficiently severe or pervasive to alter the terms and

   conditions of employment and create a discriminatorily abusive working environment; and

   (5) a basis for holding the employer liable. Reeves v. C.H. Robinson Worldwide, Inc., 594 F.3d

   798, 808 (11th Cir. 2010).

              Here, the Plaintiff’s claims are fundamentally flawed since there is no basis for holding

   CB liable. The Plaintiff attempts to hold her former employer liable for alleged harassment

   and bullying by the competing accounting expert who worked for an entirely separate

   accounting firm in a contentious divorce case. Undeniably, the alleged harasser was not acting

   within the scope of his employment when the harassment took place since the harasser was

   not employed by CB, and the harasser did not maintain an agency relationship with CB. To

   the contrary, the alleged harasser was the adversary expert to CB in the divorce case.

   Therefore, CB cannot be held indirectly liable for the harasser’s alleged conduct. Joseph, 983

   F. Supp. 1431.

              Under an apparent direct liability theory, the Plaintiff’s theory that CB can be held

   liable for failing to prevent the alleged harassment by a non-CB accountant is not a recognized

   basis to sue CB under the causes of action alleged. Indeed, CB had no authority or control

   over the alleged harasser that would put CB in a position to stop the alleged harassment and

   bullying from continuing.

               The Plaintiff attempts to expand the basis to hold an employer liable in a manner that

   is not recognized under the law. Because the Plaintiff’s theory for liability attempts to expand


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   the law, there is little case law that evaluates an analogous theory. In Neal v. Manpower Int’l,

   Inc., a plaintiff attempted to hold a defendant liable for staffing one of its employees at an

   entirely separate company where alleged discrimination took place. Neal v. Manpower Int'l,

   Inc., 2001 U.S. Dist. LEXIS 25805 (N.D. Fla. 2001). The Court in Neal recognized the

   inherent problems with trying to hold an employer liable for actions undertaken by an entirely

   separate company. Id. at *32 (Since Wayne-Dalton supervisors are Wayne-Dalton employees,

   Manpower neither has an "opportunity to guard against [their] misconduct," nor to "screen

   them, train them, and monitor their performance")(citing Faragher v. City of Boca Raton, 524

   U.S. 775 (1998)).

              Yet, the Plaintiff’s theory of liability is much more attenuated than the facts found in

   the Neal decision. The alleged harasser was not a CB employee and the Plaintiff’s allegations

   make it clear that the outside adversary accountant was bullying her from his own accounting

   firm, not within the CB premises. The Plaintiff clearly takes issue with CB’s inability or efforts

   to stop the alleged harassment. Yet, undeniably CB had no authority or control over this

   alleged harasser as the harasser worked for an entirely separate accounting firm and was

   serving as the adversary’s expert in the divorce case. CB’s lack of control over the alleged

   harasser is dispositive to the Plaintiff’s efforts to hold CB liable under Title VII or the FCRA

   for the alleged wrongful conduct of the non-CB adversary accountant.

              Consequently, the Court should dismiss the Complaint with prejudice.

        B. The Plaintiff never complained the non-CB adversary accountant was harassing her
           based on gender.

              The Complaint should be dismissed because the Plaintiff never complained to her

   superiors at CB that the alleged wrongful conduct by the non-CB adversary accountant was

   based on her gender.

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              Title VII prohibits retaliation after an employee has protested discrimination based on

   race, color, religion, natural origin, or gender. 42 U.S.C. § 2000e-2. But, Title VII does not

   protect persons from a coworker's bullying that is unrelated to their membership in a protected

   class. See Petersen v. Utah Dep't of Corr., 301 F.3d 1182, 1188 (10th Cir. 2002). An employer

   cannot engage in unlawful retaliation if it does not know that the employee has opposed or is

   opposing a violation of Title VII. Id. In order to hold a plaintiff’s employer responsible for

   illegal gender discrimination, the employee needs to show that she complained to her

   supervisor that she was being targeted or treated unfairly as a result of her gender. See Yancick

   v. Hanna Steel Corp., 2010 U.S. Dist. LEXIS 4135 (C.D. Ill. 2010).

              The Plaintiff’s Complaint sets forth that she brought the bullying and harassment to

   the attention of two CB employees. DE 11 at ¶¶ 23-40. The Complaint states that the Plaintiff

   felt offended and threatened by the actions of the non-CB adversary accountant. Id. Yet, the

   Plaintiff never alleges she advised CB that she felt that the inappropriate behavior on the part

   of the non-CB adversary accountant was based on her gender or any other protected basis.

   Yancick, 2010 U.S. Dist. LEXIS 4135 (finding a lack of prima facie case of retaliation under

   Title VII by stating “(w)hile Plaintiff did complain that Johnson's actions were inappropriate,

   bizarre, and disturbing, there is no showing that he indicated that he believed Johnson was

   acting in this manner because of his race. Failure to report the harassment (as racial

   harassment) is fatal to Plaintiff's claim. Defendant can hardly be expected to treat Johnson's

   inappropriate behavior as racial harassment if there never was a complaint that his behavior

   was anything more than juvenile and inappropriate behavior.”); see also Carr v. Estes Express

   Lines, 2015 U.S. Dist. LEXIS 150320 (D.C. Kansas 2015).




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              Nowhere does the Plaintiff allege that she advised CB of her belief that the bullying or

   harassment was based on the Plaintiff’s gender, thereby elevating her complaint from mere

   bullying or adversarial disputes to illegal conduct protected by Title VII or the FRCA. As a

   matter of law, CB cannot be held liable under Title VII or the FCRA if the Plaintiff never put

   CB on notice of her belief that the inappropriate behavior was based on her being part of a

   protected class. As a result, the Complaint fails to state a claim under which relief may be

   granted, and the Complaint should be dismissed pursuant to F.R.C.P 12(b)(6).

              WHEREFORE, Defendant, CHERRY BEKAERT, LLP, pursuant to Fed. R. Civ. P.

   12(b)(6), respectfully requests that the Court issue an Order dismissing this action with

   prejudice, and for such other relief the Court deems just and proper under the circumstances.

                                                     CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that on this 25th day of February, 2019, a true and correct copy

   of the foregoing has been furnished by electronic filing with the Clerk of the court via

   CM/ECF, which will send notice of electronic filing to all counsel of record.




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